                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION


JOSHUA DEW                             )
                                       )
Individually, and on Behalf of All     )
Others Similarly Situated,             )                   Case No. _______
                                       )                   Collective Action Complaint
                    Plaintiff,         )
                                       )
     v.                                )
                                       )
CORECIVIC, INC.,                       )
                                       )
     A Maryland Corporation            )
                                       )
                    Defendant.         )
______________________________________ )


                          COLLECTIVE ACTION COMPLAINT

       Defendant CORECIVIC, INC., improperly forced Plaintiff and others similarly situated,

to work “off the clock” when arriving to and returning from work. As a result, Plaintiff and

potential class members have not been paid accurately for the time they worked, resulting in

substantially less overtime pay to these workers. Plaintiff Joshua Dew, on behalf of himself and

all others similarly situated, known and unknown, through the undersigned, files this Complaint

against CORECIVIC, INC., (“Defendant”), and state as follows:

                                NATURE OF THE ACTION

1.      This lawsuit arises under the Fair Labor Standards Act, 29 U.S.C. §§201, et seq. (“FLSA”)

for Defendant’s failure to pay Plaintiff and similarly situated individuals all earned overtime

wages, and failure to compensate Plaintiffs and other similarly-situated persons for all time

worked.



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                                  JURISDICTION AND VENUE

2.       This court has subject matter jurisdiction in this matter because Plaintiff bring his FLSA

overtime claims on his own behalf and on behalf of others similarly situated as a collective action

pursuant to 29 U.S.C. §216(b).

3.       The state of Maryland has personal jurisdiction in this matter because Defendant is

incorporated under the laws of this State.

4.       Venue is proper in the District of Maryland because Defendant corporation is incorporated

in this state, and therefore a resident of this state, susceptible to suit in this venue.

                                               PARTIES
5.      Named Plaintiff Joshua Dew resides in Crawford County, Pennsylvania. Plaintiff worked

for Defendant within the past three years.

6.      Potential Plaintiffs (referred to as “FLSA Class Members”) are similarly situated

individuals who were employed or are currently employed by Defendant across the country as

correctional officers, prison guards, or other similarly titled positions, during the statutory period.

FLSA Class Members all shared similar job tasks, job responsibilities, compensation plans, job

descriptions, job titles, and were all classified as not exempt from overtime.

7.      Defendant is a public corporation organized under the laws of Maryland and may be served

with process through tits registered agent The Corporation Trust Incorporated, 2405 York Road,

Suite 201, Lutherville Timonium, Maryland, 21093-2264.

                                             COVERAGE

8.      At all material times, Defendant has been an employer within the meaning of 3(d) of the

FLSA. 29 U.S.C. § 203(d).




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9.     At all material times, Defendant has been an enterprise or enterprise in commerce or in the

production of goods for commerce within the meaning of §203(s)(1) of the FLSA because

Defendant has had and continue to have employees engaged in interstate commerce. 29 U.S.C. §

203(s)(1).

10.    At all material times, Plaintiff and the FLSA Class Members were/are employees engaged

in commerce or the production of goods for commerce as required by 29 U.S.C. § 207.

11.    Furthermore, Defendant has an annual gross business volume of not less than $500,000.


                                  FACTUAL ALLEGATIONS

12.    Plaintiff Joshua Dew worked as an hourly, non-exempt, correctional officer for Defendant

at its correctional facility in Conneaut, Ohio from 2014 to October 2016.

13.    Defendant is a company that provides private prison services across the U.S. In fact,

Defendant manages more than 65 state and federal correctional and detention facilities with a

capacity of more than 90,000 beds in 19 states and the District of Columbia. Defendant employs

thousands of correctional officers nationwide to service these facilities.

14.    The core job duty of the correctional officers is to manage and oversee the inmate

population at these centers.

15.    Given the nature of the business, Defendant’s facilities are secured by locked doors and

metal detectors.

16.     The correctional officers wear a uniform and are equipped with handcuffs, pepper spray,

and radio.

17.    Plaintiff and the FLSA Class Members worked as correctional officers for Defendant.

18.    They were classified as non-exempt and paid an hourly rate.




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19.    When they worked more than forty hours in a workweek, they were entitled to overtime

pay.

20.    Unfortunately, Defendant set up a pay structure that was designed to deny Plaintiff and the

FLSA Class Members compensation for all hours worked.

21.    In particular, before Plaintiff and the FLSA Class Members were allowed to clock-in and

record their time for purposes of being paid, they were required to walk through a metal detector

and several security doors. The same metal detector that the general public used was the same

metal detector that Plaintiff and the FLSA Class Members were required to use.

22.    Usually when the Plaintiff and FLSA Class Members reported to their shifts, there were

long lines formed through the metal detector, through the security doors, and into the briefing

room. Plaintiff and the FLSA Class Members stand in line with members of the general population.

23.    Afterward, Plaintiff and the FLSA Class Members were required to wait in line at a separate

equipment booth to be assigned their pepper spray.

24.    After being assigned their pepper spray, they then have to attend a pre-shift briefing in the

“briefing room.” This briefing discusses what occurred during the prior shift, any new policies,

and an update on the current proceedings at the facility. The pre-shift brief is conducted by the

assigned captain for the shift. After the briefing is over, Plaintiff and the FLSA Class Members

were then allowed to clock-in and begin their shift. The pre-shift briefing lasted approximately

15-30 minutes on average.

25.    Plaintiff and the FLSA Class Members spent approximately 30 to 45 minutes on average

standing in lines before getting to the briefing room.




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26.      The pre-shift activities identified above are not incidental activities for the Plaintiff and

FLSA Class Members, this time is integral and indispensable to their principal activity and is

compensable.

27.      Although Defendant employed electronic “clocking in” technology, this technology was

not made accessible to the Plaintiff and FLSA Class Members before they reached the “briefing

room.”

28.      Rather than place the time clock at the entrance to the facility for the Plaintiff and FLSA

Class Members to use or even after entering the security doors, Defendant placed the time clock

inside its “briefing room” so that the Plaintiff and FLSA Class Members could only clock in after

completing substantial pre-shift work.

29.      After their shift was over and they had clocked out, the Plaintiff and FLSA Class Members

had to stand in line to return their pepper spray. They also had to walk through the security lines

before exiting the building.

30.      Due to the substantial pre-shift and post-shift work, the Plaintiff and FLSA Class Members

were not paid for all time worked each day.

31.      The Plaintiff and the FLSA Class Members routinely and consistently worked over 40

hours in a week while performing their duties for Defendant.

32.      Defendant knew, or showed reckless disregard for whether Plaintiff and the FLSA Class

Members were entitled to be paid for all hours worked. In fact, Defendant knew the requirement

to pay overtime to Plaintiff and FLSA Class Members but intentionally chose not to do so.

                           COLLECTIVE ACTION ALLEGATIONS

33.      Plaintiff incorporates by reference the allegations in the preceding paragraphs.




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34.     Plaintiff has actual knowledge that the FLSA Class Members have also been denied proper

overtime pay for hours worked over forty (40) hours in a workweek because of Defendant’s

scheme to force Plaintiff off the clock.

35.     Plaintiff’s knowledge is based on his personal work experience and through

communications with other workers.

36.     Other workers similarly situated to Plaintiff throughout the United States were also not

paid the correct amount of overtime when Defendant’s “off the clock” scheme caused them to lose

one hour of paid work every day and caused their overtime calculations to drop.

37.     Although Defendant permitted and/or required FLSA potential Plaintiffs to work more than

forty (40) hours in a workweek, Defendant denied them full compensation for their hours worked

over forty (40) through this improper policy of discounting their time.

38.     Potential Plaintiffs are not exempt from receiving overtime pay under the FLSA.

39.     As such, FLSA potential Plaintiffs are similar to Plaintiff in terms of relevant job duties,

pay structure, and the denial of overtime pay.

40.     Defendant’s failure to pay overtime compensation at the rates required by the FLSA results

from generally applicable policies or practices and does not depend on the personal circumstances

of any potential Plaintiff.

41.     The experiences of Plaintiff, with respect to his pay, hours, and duties are typical of the

experiences of the similarly situated potential Plaintiffs.

42.     The specific job titles or precise job responsibilities of each FLSA potential Plaintiff does

not prevent collective treatment.

43.     Although the exact amount of damages may vary among the FLSA Class Members, the

damages for the FLSA Class Members can be easily calculated by a simple formula. The claims of



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all FLSA Class Members arise from a common nucleus of facts. Liability is based on a systematic

course of wrongful conduct by Defendant that caused harm to all FLSA Class Members.

44.    As such, the class of similarly situated Plaintiffs for the FLSA Class is properly defined as

follows:

               All current and former Correctional Officers, and all employees in
               substantially similar positions, classified as non-exempt during the
               three-year period before the filing of this Complaint to the present.

                       COUNT ONE: VIOLATION OF 29 U.S.C. § 207

45.    Plaintiff incorporates all allegations contained in the foregoing paragraphs.

46.    Defendant’s practice of failing to pay Plaintiff time-and-a-half for all hours worked more

than forty (40) per workweek violates the FLSA. 29 U.S.C. § 207.

47.    None of the exemptions provided by the FLSA regulating the duty of employers to pay

overtime at a rate not less than one and one-half times the regular rate at which its employees are

paid are applicable to Defendant, Plaintiff, or the FLSA potential Plaintiffs (putative Class

Members).

                                     DAMAGES SOUGHT

41.    Plaintiff and the FLSA Class Members (potential Plaintiffs) are entitled to recover their

unpaid overtime compensation. 29 U.S.C. §§ 207, 216.

42.    Plaintiff and the FLSA Class Members (potential Plaintiffs) are entitled to an amount equal

to all of their unpaid wages as liquidated damages. 29 U.S.C. § 216(b).

43.    Plaintiff and the FLSA Class Members (potential Plaintiffs) are entitled to recover

attorney’s fees and costs. 29 U.S.C. § 216(b).




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                                    PRAYER FOR RELIEF

      44.        For these reasons, Plaintiff, on behalf of himself and the FLSA Class Members

(potential plaintiffs), respectfully requests that judgment be entered in their favor awarding them

the following:

       a. Overtime compensation for all hours worked over forty in a workweek at the
          applicable time-and-a-half rate;

       b. Liquidated damages in an amount equal to their unpaid overtime as allowed
          under the FLSA;

       c. Reasonable attorney’s fees, costs, and expenses of this action as provided by
          the FLSA; and

       d. Such other and further relief to which Plaintiff and FLSA Class Members may
          be entitled, at law or in equity.

                                               Respectfully submitted,

                                               KENNEDY HODGES, L.L.P.

                                              By: /s/ Don J. Foty
                                                  Don J. Foty
                                                  Will apply for admission Pro hac Vice
                                                  DFoty@kennedyhodges.com
                                                  Texas Bar No. 24050022
                                                  KENNEDY HODGES, L.L.P.
                                                  4409 Montrose Blvd, Suite 200
                                                  Houston, TX 77006
                                                  Telephone: (713) 523-0001
                                                  Facsimile: (713) 523-1116

                                                  &

                                                  By: /s/ Anthony Lazzaro
                                                  Anthony J. Lazzaro
                                                  Ohio Bar No. 0077962
                                                  Will apply for admission Pro Hac Vice
                                                  THE LAZZARO LAW FIRM, LLC
                                                  920 Rockefeller Building
                                                  614 W. Superior Avenue
                                                  Cleveland, Ohio 44113
                                                  Phone: 216-696-5000


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                                   Facsimile: 216-696-7005
                                   anthony@lazzarolaw.com

                                   &

                                   By: /s/ Kelly E. Cook
                                   Kelly E. Cook
                                   Maryland Bar No. 16585
                                   Wyly & Cook
                                   4101 Washington Avenue, 2nd Floor
                                   Houston, Texas 77007
                                   T: [713] 236-8330 F: [713] 863-8502
                                   kcook@wylycooklaw.com

                              Attorneys for Plaintiff and Class Members




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